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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

THE CORPORATION FOR PUBLIC )
BROADCASTING, et al.                )
                                    )
      Plaintiffs,                   )
v.                                  )                 Case No. 1:25-cv-01305-RDM
                                    )
DONALD J. TRUMP, in his Official )
Capacity as President of the United )
States of America, et al.           )
                                    )
      Defendants.                   )


                         (PROPOSED ORDER) MOTION TO ADMIT
                           JEFFREY S. ROBBINS PRO HAC VICE

       Upon consideration of Plaintiff’s Motion To Admit Jeffrey S. Robbins Pro Hac Vice to

represent Plaintiff in this matter, the record herein, and it appearing to the Court that good cause

exists to grant the motion, it is this _____________ day of __________, 2025 hereby

       ORDERED, that Plaintiff’s Motion To Admit Jeffrey S. Robbins Pro Hac Vice is

GRANTED.

SO ORDERED.
                                              THE HONORABLE RANDOLPH D. MOSS
                                              Judge of the U.S. District Court for the
                                              District of Columbia




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